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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION


 KENNETH MERRITT,                   )
                                    )
      Plaintiff,                    )
                                    )
 v.                                 )        No. 23-cv-02453-SHM-tmp
                                    )
                                    )
 WIPRO LIMITED,                     )
                                    )
      Defendant.                    )


        ORDER DENYING PLAINTIFF’S MOTION FOR RELIEF JUDGMENT


      Before   the   court   is   pro   se    plaintiff        Kenneth   Merritt’s

 “Motion for Relief from Judment [sic],” filed February 4, 2025. 1

 (ECF No. 58.)

      On December 3, 2024, the court denied Merritt’s motion to

 amend his complaint. (ECF Nos. 43, 48.) Merritt sought to add

 claims for “payroll fraud,” fraudulent concealment, and breach

 of contract. (ECF No. 43.) Pursuant to the scheduling order, the

 deadline to amend pleadings had passed, (ECF No. 31), and the

 undersigned found that Merritt had not shown good cause to amend

 the scheduling order to allow further amendment, (ECF No. 48 at

 PageID 422). The undersigned also found that amendment would be


 1Pursuant to Administrative Order No. 2013-05, this case has been
 referred to the United States magistrate judge for management of
 all pretrial matters for determination and/or report and
 recommendation, as appropriate.
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 futile     at   least   as    to     Merritt’s     proposed     payroll       fraud    and

 fraudulent concealment claims. 2 (Id. at PageID 422-23.)

         Merritt    filed     the    instant      motion   on    February      4,     2025,

 asking the court to set aside its ruling under Federal Rule of

 Civil Procedure 60(b)(4). (ECF No. 58.) Merritt argues that the

 court’s order is void because he did not receive a copy of the

 order in the mail and was thus prevented from timely appealing

 or moving for reconsideration. 3 (ECF No. 58.) Wipro filed its

 response in opposition on February 18, 2025. (ECF No. 69.)

        Under Rule 60(b), “the court may relieve a party or its

 legal      representative          from    a     final    judgment,          order,     or

 proceeding”       for   several       reasons.        Fed.      R.    Civ.    P.     60(b)

 (emphasis         added).     Because          Merritt     is        challenging        an

 interlocutory order, Merritt’s motion is procedurally improper.

 See Dassault Systemes, SA v. Childress, 663 F.3d 832, 840 (6th

 Cir.    2011)     (citing    Chudasama     v.     Mazda   Motor      Corp.,    123    F.3d

 1353, 1364 n.27 (11th Cir. 1997)) (declining to apply Rule 60(b)

 to an entry of default because Rule 60(b) does not apply to

 interlocutory orders); Consolidation Coal Co. v. U.S. Dep't of


 2The undersigned declined to consider whether Merritt’s breach of
 contract claim is futile because the parties did not fully brief
 the issue. (ECF No. 48 at PageID 422 n.7.)

 3Merritt contends incorrectly that his not receiving the December
 3, 2024 order violates Federal Rule of Civil Procedure 5(b),
 (ECF No. 48), which governs how parties serve pleadings and
 other papers on each other.
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 Interior,      43    F.     Supp.    2d    857,    863   (S.D.    Ohio   1999)      (citing

 Wanamaker v. Columbian Rope Co., 907 F. Supp. 522, 526 (N.D.N.Y.

 1995), aff'd 108 F.3d 462 (2d Cir. 1997); Krome v. Merrill Lynch

 & Co., 110 F.R.D. 693, 694 (S.D.N.Y. 1986)) (“Rule 60(b) permits

 the    Court    to     grant        relief    only    from    ‘final’    judgments       or

 orders.”); Jones v. State of Tenn. Dep't of Corr., No. 3:20-CV-

 00340, 2021 WL 11679104, at *1 (M.D. Tenn. Apr. 21, 2021) (“[A]

 motion to amend a complaint is not a final judgment contemplated

 by either Rule 59(e) or 60(b).”); Fed. R. Civ. P. 60 advisory

 committee’s note to 1946 amendment (“[I]nterlocutory judgments

 are not brought within the restrictions of [Rule 60], but rather

 they   are     left       subject     to     the   complete      power   of   the    court

 rendering      them       to   afford      such    relief    from     them    as    justice

 requires.”)         Thus,      to   the    extent    Merritt     is   challenging       the

 court’s denial of his motion to amend under Rule 60, the motion

 is DENIED.

        The undersigned notes that Western District of Tennessee

 Local Rule 7.3 allows parties to file a motion for the revision

 of any interlocutory order, pursuant to Federal Rule of Civil

 Procedure 54(b). L.R. 7.3(a). The movant must show:

        (1) a material difference in fact or law from that
        which was presented to the Court before entry of the
        interlocutory order for which revision is sought, and
        that in the exercise of reasonable diligence the party
        applying for revision did not know such fact or law at
        the time of the interlocutory order; or (2) the
        occurrence of new material facts or a change of law

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        occurring after the time of such order; or (3) a
        manifest failure by the Court to consider material
        facts   or dispositive legal  arguments that  were
        presented to the Court before such interlocutory
        order.

 L.R.    7.3(b).     The    undersigned        finds    that      Merritt    has    not

 satisfied any of these bases. Accordingly, to the extent Merritt

 is asking the court to reconsider its December 3, 2024 order

 under the local rules, the motion is DENIED.

        While it is not clear that Merritt is attempting to appeal

 the    December    3,   2024    order   to    the   presiding     district       judge,

 Merritt    does    argue       that   his    failure   to     receive      the    order

 prevented    him    from   timely       doing   so.    Federal     Rule     of    Civil

 Procedure 72(a) and Local Rule 72.1(g)(1) generally require that

 an order by the presiding magistrate judge be appealed within

 fourteen days. This ruling does not affect Merritt’s motion or

 consideration of his arguments regarding his delay should the

 presiding district judge construe Merritt’s motion as an appeal

 of the December 3, 2024 order.

        IT IS SO ORDERED.

                                   s/Tu M. Pham
                                   TU M. PHAM
                                   Chief United States Magistrate Judge

                                   February 20, 2025
                                   Date




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